                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:13-00069
                                                )           JUDGE CAMPBELL
MIGUEL SANCHEZ BRITO                            )


                                            ORDER

       Pending before the Court is a letter from the Defendant (Docket No. 190) requesting a

sentencing reduction based on Amendment 782 of the United States Sentencing Guidelines.

        Pursuant to 18 U.S.C. § 3006A, the Court appoints the Federal Public Defender’s Office

to represent the Defendant, or if necessary, to designate a member of the Federal Defender’s

Panel to represent the Defendant.

       The Probation Office shall prepare a revised Presentence Investigation Report on or

before September 29, 2014, and provide a copy to counsel for the parties. Counsel for the

Defendant shall file any supplemental briefs in support of the reduction request on or before

October 27, 2014, and the Government shall file any response on or before November 17, 2014.

       It is so ORDERED.



                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00069        Document 191        Filed 08/26/14     Page 1 of 1 PageID #: 564
